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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §            CRIMINAL NO. H-15-0060
                                                   §
HOWARD BERNARD GLAZE                               §


                            ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. I conclude that the following facts are established by a preponderance of the evidence or clear
and convincing evidence and require the detention of the above-named defendant pending trial in
this case.

                                           Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)     The defendant has been convicted of a (federal offense) (state or local offense that
                 would have been a federal offense if a circumstance giving rise to federal jurisdiction
                 had existed) that is

                      []     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                      []     an offense for which the maximum sentence is life imprisonment or
                             death.

                      []     an offense for which a maximum term of imprisonment of ten years or
                             more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                             ( ) § 955(a).

                      []     a felony that was committed after the defendant had been convicted of
                             two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                             (A)-(C), or comparable state or local offenses.

          [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                  pending trial for a federal, state or local offense.

          [ ] (3) A period of not more than five years has elapsed since the (date of conviction)
                  (release of the defendant from imprisonment) for the offense described in finding 1.
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       [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
               combination of conditions will reasonably assure the safety of any other person and
               the community. I further find that the defendant has not rebutted this presumption.

[X]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [X] (1)       There is probable cause to believe that the defendant has committed an offense

                     []     for which a maximum term of imprisonment of ten years or more is
                            prescribed in 21 U.S.C.
                            ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                     [X]    under 18 U.S.C. § 924(c).

       [] (2) The defendant has not rebutted the presumption established by finding 1 that no
              condition or combination of conditions will reasonably assure the appearance of the
              defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [X] (1) Defendant is accused of aiding and abetting bank robbery in violation of 18 U.S.C.
               § 2113 and aiding and abetting with use of a firearm in violation of 18 U.S.C.
               § 924(c).

       [X] (2) There is a serious risk that the defendant will flee.

       [X] (3) Defendant represents a danger to the community.

       [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
               (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1) As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [X] (3) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
              § 3142(c) which will reasonably assure the appearance of the defendant as required.

       [X] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the safety of any other person or the
               community.


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                            Written Statement of Reasons for Detention

        I find that the accusations in the indictment, information submitted in the Pretrial Services
Agency report, and information at the detention hearing establish by a preponderance of the evidence
that no condition or combination of conditions will reasonably assure the appearance of the
defendant as required and by clear and convincing evidence that no conditions will assure the safety
of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

       1.      Defendant chose not to interview with Pretrial Services and his personal and
               employment history is unknown.

       2.      Defendant has a lengthy criminal history that includes convictions for possession of
               a controlled substance, evading detention, burglary of a habitation, criminal mischief,
               and reckless driving. He is currently on bond on pending state charges of aggravated
               robbery with a deadly weapon and robbery with bodily injury.

       3.      Defendant is accused of aiding and abetting bank robbery in violation of 18 U.S.C.
               § 2113 and aiding and abetting with use of a firearm in violation of 18 U.S.C.
               § 924(c). He faces a potential penalty of up to 25 years in prison.

       4.      There is no condition or combination of conditions of release which would assure the
               appearance of the defendant in court or the safety of the community. Detention is
               ordered.

                                  Directions Regarding Detention

       It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United
States Marshal for the purpose of an appearance in connection with all court proceedings.



       Signed at Houston, Texas, on February 20, 2015.




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